         Case 19-10923-JDW                         Doc 32          Filed 03/24/21 Entered 03/24/21 09:39:25                        Desc Main
                                                                  Document      Page 1 of 7
   Fill in this information to identify the case:
   Debtor 1         Sharon Dianne Crane
   Debtor 2         Rodney Crane
                     (Spouse, if filing)
   United States Bankruptcy Court for the Northern District of Mississippi
                                                  (State)
   Case number: 19-10923-JDW




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s principal
residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at
least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1

 Name of Creditor: The Bank of New York Mellon Trust                                  Court Claim No. (if known): 4
 Company, National Association fka The Bank of New York
 Trust Company, N.A. as successor to JPMorgan Chase
 Bank, N.A., as Trustee for Residential Asset Mortgage
 Products, Inc., Mortgage Asset -Backed Pass-Through
 Certificates Series 2006 -RZ3

 Last four digits of any number                                                       Date of Payment Change:                      May 1, 2021
 you use to identify the debtor's                 0964
 account:                                                                             Must be at least 21 days after date of
                                                                                      this notice.

                                                                                      New total payment:
                                                                                      Principal, interest, and escrow, if any      $898.30

 Part 1:         Escrow Account Payment Adjustment

 Will there be a change in the debtor's escrow account payment?

       No.
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
       the basis for the change. If a statement is not attached, explain why:




 Current escrow payment: $299.03                                                     New escrow payment: $298.07

 Part 2:         Mortgage Payment Adjustment

 Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s variable-rate account?

       No.
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
       attached, explain why:

              Current interest rate:                              %                  New interest rate:                   %


              Current principal and interest payment:                                New principal and interest payment:


 Part 3:         Other Payment Change

 Will there be a change in the debtor’s mortgage payment for a reason not listed above?

     No
     Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
      (Court approval may be required before the payment change can take effect.)

              Reason for change:

              Current mortgage payment:                                              New mortgage payment:


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"The ‘current escrow payment' in the attached Escrow Statement will not match the previously filed
NOPC or POC as this escrow payment is based off the contractual due date. The current escrow payment included in this Notice of Payment Change is
based off the previously filed court record. This will not
have any impact on the borrower."




Official Form 410S1                                    Notice of Mortgage Payment Change                                                 Page 2
       Case Sharon
Debtor 1    19-10923-JDW
                   Dianne Crane                   Doc 32         Filed 03/24/21 Entered 03/24/21        09:39:25 Desc Main
                                                                                          Case number: _19-10923_____________
                  First Name             Middle Name
                                                                Document
                                                                  Last Name
                                                                              Page 3 of 7

 Part 4:           Sign Here

 The person completing this notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box

       I am the creditor.
       I am the creditor’s authorized agent.
 I declare under penalty of perjury that the information in this Notice is true and correct to the best of my knowledge,
 information, and reasonable belief.

 X         /s/ Eric C. Miller                                                              Date: March 23, 2021
           Signature



                        William Savage #105785
 Print:                 Eric Miller #102327                                                Title Attorney for Creditor
                        First Name                Middle Name            Last Name


 Company                LOGS Legal Group LLP


 Address                1080 River Oaks Drive, Suite B-202
                        Number           Street


                        Flowood, MS 39232
                        City                                     State     ZIP Code


 Contact phone          (601) 981-9299                                                     Email logsecf@logs.com




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                                                       Certificate of Service

 I hereby certify that a copy of the foregoing Response to Notice of Mortgage Payment Change was served on the parties listed below
 by postage prepaid U.S. Mail, First Class or served electronically through the Court’s ECF System at the e-mail address registered
 with the Court on this Date:


 Date: March 24, 2021 _____________________________




 Chapter 13 Trustee: Locke D. Barkley, Chapter 13 Trustee
 Trustee Address: P. O. Box 55829, Jackson, MS 39296-5829
 Trustee Email: sbeasley@barkley13.com
 Debtor's Counsel Name: Robert H Lomenick, Jr
 Debtor's Counsel Address: PO Box 417, Holly Springs, MS 38635
 Debtor's Counsel Email: robert@northmsbankruptcy.com
 Debtor's Name: Sharon Dianne Crane
 Debtor's Mailing Address: 590 Swaney Rd, Holly Springs, MS 38635


 Debtor's Name: Rodney Crane
 Debtor's Mailing Address: 590 Swaney Rd, Holly Springs, MS 38635
                                                            /s/ Eric C. Miller
                                                            William Savage #105785
                                                            Eric Miller #102327
                                                            Law Offices of LOGS Legal Group LLP
                                                            1080 River Oaks Drive, Suite B-202
                                                            Flowood, MS 39232
                                                            19-023486
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